                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN



 UNITED STATES OF AMERICA,

        Plaintiff,
                                                                  Hon. Robert J. Jonker
 v.
                                                                  Case No. 1:20-cr-00183
 BARRY GORDON CROFT, JR.,

        Defendant.
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                                           ORDER

       This matter is before the Court on Defendant’s Motion to Revoke Detention Order (ECF

No. 108). For the reasons stated on the record at the hearing held January 13, 2021, the motion

(ECF No. 108) is denied.

       IT IS SO ORDERED.

Dated: January 14, 2021                                    /s/ Sally J. Berens
                                                          SALLY J. BERENS
                                                          U.S. Magistrate Judge
